Case 1:19-mc-20493-UU Document 52 Entered on FLSD Docket 05/14/2019 Page 1 of 1



                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF FLORIDA

                                  Case No. 1:19-cv-20493-UU

 SECURITIES AND EXCHANGE COMMISSION,

        Applicant,
 v.

 CARLA MARIN,

       Respondent.
 ____________________________________/

           ORDER RESETTING PLANNING & SCHEDULING CONFERENCE

        THIS CAUSE is hereby re-set for an Initial Planning and Scheduling Conference before

 the Honorable Ursula Ungaro, at the United States Courthouse, 400 North Miami Avenue, Room

 12-4, Miami, Florida, on Friday, June 7, 2019, at 10:30 a.m.

        DONE AND ORDERED in chambers at Miami, Florida this _14th__ day of May, 2019.




                                                   _______________________________
                                                   URSULA UNGARO
                                                   UNITED STATES DISTRICT JUDGE


        copies provided: counsel of record
